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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     THE ESTATE OF PABLO GARCIA TORIBIO,                CASE NO. 18-cv-02151-YGR
                                         ET AL.,
                                   8                                                        ORDER DISMISSING CLAIMS AGAINST
                                                       Plaintiffs,                          DEFENDANTS CITY OF SANTA ROSA,
                                   9
                                                 vs.                                        SCHREEDER, BADGER, AND MCALLISTER
                                  10
                                         CITY OF SANTA ROSA, ET AL.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                              On February 26, 2019, at the hearing on defendants’ motion for summary judgment,
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                                       plaintiffs’ counsel stated on the record that plaintiffs withdraw their claims defendants City of
                                  14
                                       Santa Rosa, Chief of Police Hank Schreeder, Officer Jeffrey Badger, and Officer Park McAllister.
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                                       Defendants did not object.
                                  16
                                              Therefore, all claims against defendants City of Santa Rosa, Chief of Police Hank
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                                       Schreeder, Officer Jeffrey Badger, and Officer Park McAllister are DISMISSED.
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                                              IT IS SO ORDERED.
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                                       Dated: February 28, 2019
                                  20                                                            YVONNE GONZALEZ ROGERS
                                                                                           UNITED STATES DISTRICT COURT JUDGE
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